       Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 1 of 16




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA

Big Cat Rescue Corp., a Florida        )
not-for-profit corporation,            )
                                       )
                 Plaintiff,            )
                                       )
v.                                     )   Case No. CIV-2016-0155-SLP
                                       )
Shirley M. Schreibvogel,               )
an individual, and                     )
Greater Wynnewood Development          )
Group, LLC,                            )
                                       )
                 Defendants.           )


     EMERGENCY APPLICATION OF PLAINTIFF BIG CAT RESCUE CORP.
      AND PARTY IN INTEREST 25803 NORTH COUNTRY ROAD 3250 LLC
      FOR AN ORDER TO SHOW CAUSE WHY JUDGMENT DEFENDANT
           GREATER WYNNEWOOD DEVELOPMENT GROUP, LLC,
       AND ITS PRINCIPAL AND SOLE MEMBER, JEFFREY LEE LOWE,
          INDIVIDUALLY, SHOULD NOT BE FOUND IN CONTEMPT
       FOR FAILING TO COMPLY WITH ORDER REQUIRING ACTION
       WITHIN FOURTEEN DAYS OF SERVICE, AND BRIEF IN SUPPORT




Dated: July 14, 2020               Melvin R. McVay, Jr., OBA No. 6096
                                   Heather L. Hintz, OBA No. 14253
                                   Juston R. Givens, OBA No. 19102
                                   PHILLIPS MURRAH P.C.
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                                   ATTORNEYS FOR PLAINTIFF
                                   AND PARTY IN INTEREST
       Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 2 of 16




      Plaintiff Big Cat Rescue Corp. (“BCR”) and party in interest 25803 North Country

Road 3250 LLC (“25803”) respectfully submit their Emergency Application for an Order

to Show Cause why Judgment Defendant Greater Wynnewood Development Group, LLC

(“GWDG”) and its principal and sole member, Jeffrey Lee Lowe, individually (“Lowe”),

should not be found in contempt for failing to comply with the Court’s Order Requiring

Action within Fourteen Days of Service, and Brief in Support. In support thereof, BCR

and 25803 would show the Court:

                               I.   PERTINENT FACTS

      1.     The Court on June 1, 2020 in this case entered an Order [Doc. 152]

(“Order”) and Judgment [Doc. 153] (“Judgment”), which imposed certain obligations on

GWDG within time frames triggered by the date of service on GWDG of the Order and

Judgment.1

      2.     Specifically, the Order stated, in pertinent part:

      [GWDG] shall, within 14 days of service of this Order on GWDG, obtain and
      maintain a general liability insurance policy on the Zoo Land providing insurance
      of $5 million (U.S.) per occurrence with a deductible of $5,000, naming both Big
      Cat Rescue and 25803 North Country Road 3250 LLC as additional insureds,
      …and with respect to which a certificate of insurance shall be delivered to counsel
      for Big Cat Rescue within 14 days of service of this Order on GWDG, (Order
      [Doc. 152], at III(3));

      [GWDG] shall execute any documents reasonably necessary to indemnify both
      Big Cat Rescue and 25803 North Country Road 3250 LLC for any damage or
      liability arising out of their interest in or ownership of the Zoo Land, including but
      not limited to liability for any injuries to anyone on the property, including but not
      limited to liability for any injuries to any person that may occur on the Zoo Land,
      up to and until GWDG and Greater Wynnewood Exotic Animal Park, LLC

1
 This litigation has a long history, which BCR will not repeat here. See generally, Order
[Doc. 152] at 3-5, and n. 2.
                                             1
        Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 3 of 16




       completely vacate the Zoo Land premises, and remove all animals from the Zoo
       Land, (id. at III(4)); and

       [GWDG] shall collect from Greater Wynnewood Exotic Animal Park, LLC, and
       pay monthly to 25803 North Country Road 3250 LLC, the sum of $4,166 per
       month payable of the first calendar day of each month for use of the Zoo Land
       …beginning on July 1, 2020 or on the first day or the first month after service of
       this Order on GWDG (whichever is later), … (id., at III(5)).

       3.      GWDG was served with the Order as early as June 2, but no later than June

4, 2020. See Notice of Service [Doc. 156] at 3, ¶ 4. Additionally, Lowe was personally

served with the Order and Judgment via private process server on June 2, 2020. [Doc.

156] at 1, ¶ 3(b).

       4.      Based on the service date of June 4, GWDG was required to have (a)

obtained the stated general liability insurance policy and provided the undersigned with a

certificate of insurance, and (b) executed documents reasonably necessary to indemnify

BCR and 25803 no later than June 18, 2020. However, neither BCR nor its counsel had

any contact from GWDG or Lowe on or before June 18.

       5.      GWDG was also ordered to pay 25803 the monthly sum of $4,166

beginning July 1, 2020. However, neither 25803 nor its counsel received payment on or

after July 1, and GWDG has not contacted undersigned counsel to make arrangements for

the payment.

       6.      On June 23, 2020, counsel for BCR wrote to follow up on GWDG’s

compliance with the Order and Judgment, and to advise Lowe and GWDG that the

undersigned also represented 25803, the entity that was awarded title to the land that

GWDG purported to own and lease to Greater Wynnewood Exotic Animal Park, LLC


                                            2
        Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 4 of 16




(“GWEAP”), for operation of the animal park.2 See Ex. 1 (the “Letter”). The Letter was

sent by email and priority mail, and BCR’s counsel has received confirmation from the

United States postal service of delivery of the Letter on GWDG. Id. With the Letter, BCR

submitted a proposed indemnity agreement to address the Court’s requirement that

GWDG execute documents reasonably necessary to indemnify BCR and 25803 for

activities on the land. Id.

       7.       BCR requested a response to the Letter no later than close of business June

25, 2020. Id.

       8.       Neither GWDG nor Lowe responded to the Letter or otherwise contacted

BCR’s counsel until July 7, 2020, when a lawyer from Los Angeles, California advised

via email he had been hired that morning by Lowe to answer the “questions” posed by the

Letter. The lawyer advised he was talking to Lowe June 9 and should be able to get back

to undersigned counsel by Friday, June 10. BCR’s counsel advised that she did not have

the power to extend the deadlines contained in the Court’s Order and Judgment, and that

time was of the essence given the urgency of the indemnification and insurance

2
  Lowe in 2016 created GWEAP, GWDG and Big Cat Institute, which together operate
the Wynnewood animal park. See Big Cat Rescue v. G.W. Exotic Animal Memorial
Foundation, et al.; Case No. CIV-14-377-SLP (W.D. Okla.), Intervenor’s Response and
Objection to Second Interim Application of Receiver for Compensation, Jan. 9, 2017
[Doc. 285] at 9 (identifying these as “the other entities created by Jeff Lowe…which are
utilized to operate the zoo”). Applicants respectfully request the Court take judicial notice
of this and other court records noted in this Application. See Tal v. Hogan, 453 F.3d
1244, 1264 n. 24 (10th Cir. 2006) (The Court may “take judicial notice of its own files
and records, as well as facts which are a matter of public record. However, the documents
may only be considered to show their contents, not to prove the truth of matters asserted
therein”) (internal quotations, citations and brackets omitted).



                                              3
        Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 5 of 16




obligations, in particular, the Court required of GWDG, but that she looked forward to

hearing from him. Undersigned counsel has had no further contact from Los Angeles

counsel, although seven days have passed since his purported engagement. Further, no

entry of appearance in this case has been made. Aside from the brief July 7th

communication from Lowe’s purported counsel, which said nothing about compliance

with the Order and Judgment, neither Applicants nor their counsel have received any

communication from GWDG or Lowe.

       9.     GWDG is in contempt of the Order, and Lowe should also be determined in

contempt. The elements of contempt are clearly present, as established below.

                       II. ARGUMENT AND AUTHORITIES

              A. GWDG AND LOWE ARE IN CONTEMPT OF THE ORDER.

       The elements of civil contempt, which must be proved by clear and convincing

evidence, are 1) existence of a valid court order; 2) knowledge of the order; and 3) failure

to obey the order. Reliance Ins. Co. v. Mast Constr. Co., 159 F.3d 1311, 1315 (10th Cir.

1998). Each of those elements is present here.

                        1. The Order is a Valid Court Order.

       The Court entered the Order on June 1, 2020. [Doc. 152]. The Order remains in

existence and has not been appealed. The Order, among other things, plainly stated:

       [GWDG] shall, within 14 days of service of this Order on GWDG, obtain and
       maintain a general liability insurance policy on the Zoo Land providing
       insurance of $5 million (U.S.) per occurrence with a deductible of $5,000,
       naming both Big Cat Rescue and 25803 North Country Road 3250 LLC as
       additional insureds, …and with respect to which a certificate of insurance shall
       be delivered to counsel for Big Cat Rescue within 14 days of service of this
       Order on GWDG, (id. at 9, ¶ III(3)) (emphasis supplied);

                                             4
       Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 6 of 16




      [GWDG] shall execute any documents reasonably necessary to indemnify both
      Big Cat Rescue and 25803 North Country Road 3250 LLC for any damage or
      liability arising out of their interest in or ownership of the Zoo Land, including but
      not limited to liability for any injuries to anyone on the property, including but not
      limited to liability for any injuries to any person that may occur on the Zoo Land,
      up to and until GWDG and Greater Wynnewood Exotic Animal Park, LLC
      completely vacate the Zoo Land premises, and remove all animals from the Zoo
      Land, (id. at 10, ¶ III(4)) (emphasis supplied); and

      [GWDG] shall collect from Greater Wynnewood Exotic Animal Park, LLC, and
      pay monthly to 25803 North Country Road 3250 LLC, the sum of $4,166 per
      month payable of the first calendar day of each month for use of the Zoo Land
      …beginning on July 1, 2020 or on the first day or the first month after service of
      this Order on GWDG (whichever is later)… (id. at ¶ III(5)) (emphasis supplied).

The foregoing obligations of GWDG are plainly identified in the Order.

      Further, the time for compliance has elapsed. The Court specifically set the time

for GWDG’s performance of the obligations at issue in this Application to the date that

fell fourteen days after service of the Order and Judgment on GWDG. Id. at 9-10, and 11,

n.7. BCR has established that GWDG was served no later than June 4, 2020, and the

fourteen day deadline for compliance was therefore June 18, 2020.

      The Order is a valid order, and the time for compliance has passed. Reliance Ins.

Co. v. Mast Constr. Co., 159 F.3d at 1315.

                 2. GWDG and Lowe had Knowledge of the Order.

      The Order was served on GWDG’s former counsel via the Court’s ECF system at

a time when said counsel was, in turn, required by the Court to serve the Order on

GWDG. See Notice of Compliance with Court Order [Doc. 154]. Additionally, BCR

served a copy of the Order on GWDG, as required to trigger the substantive obligations



                                             5
        Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 7 of 16




the Court imposed on GWDG in the Order. See Certificate of Service [Doc. 155]; Notice

of Service [Doc. 156] at 3, ¶ 4.

       Lowe had knowledge of the Order both by virtue of his status as the sole member

of GWDG3 and because Lowe was personally served with the Order by private process

server on June 2, 2020. See [Doc. 156] at 1, ¶ 3(b).

       GWDG and Lowe unquestionably have knowledge of the Order. Reliance Ins. Co.

v. Mast Constr. Co., 159 F.3d at 1315.

            3. GWDG and Lowe Have Failed to Comply with the Order.

       GWDG and Lowe have wholly failed to comply with the Order, which required

action by a date certain, June 18th. Forty days have passed since service of the Order and

Judgment, and GWDG has not provided a compliant certificate of insurance naming BCR

and 25803 as additional insureds, nor has it executed indemnification papers; both actions

were required fourteen days after service. Order [Doc. 152]. And, GWDG has failed to

pay 25803 the sum ordered paid on July 1. Id.

       All the elements of contempt have been met. Reliance Ins. Co. v. Mast Constr.

Co., 159 F.3d at 1315.

           B. LOWE IS EQUALLY SUBJECT TO CONTEMPT OF THE ORDER.

       Lowe is equally subject to contempt of the Order. He is the sole member of

GWDG, an Oklahoma limited liability company. See OKLA. STAT. tit. 18, § 2001(14)


3
  An Oklahoma limited liability company, such as GWDG, may be comprised of one
member. See, e.g., OKLA. STAT. tit. 18, § 2012.2(C) (“An operating agreement of a
limited liability company having only one member is not unenforceable because there is
only one person who is a party to the operating agreement.”).
                                             6
          Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 8 of 16




(defining “member” as “a person with an ownership interest in a limited liability

company”).4 The United States Supreme Court has held that corporate officers and

directors may be found in contempt for violating orders directed to the entity with which

they are affiliated.

         A command to the corporation is in effect a command to those who are
         officially responsible. If they, apprised of the writ directed to the
         corporation, prevent compliance or fail to take appropriate action within
         their power for the performance of the corporate duty, they, no less than the
         corporation itself, are guilty of disobedience, and may be punished for
         contempt.

Wilson v. United States, 221 U.S. 361, 376 (1911); see also F.T.C. v. Kuykendall, 371

F.3d 745, 759 (10th Cir. 2004) (citing Wilson). As the sole member in control of GWDG,

Lowe is equally subject to contempt of the Order. Furthermore, as demonstrated above,

BCR’s counsel on June 23 wrote to Lowe requesting compliance with the Order and has

received no substantive response.

         All the elements necessary for a finding of contempt of the Order as to Lowe are

present by clear and convincing evidence.

         A showing of harm is not a necessary element to a finding of contempt. See

Reliance Ins. Co. v. Mast Constr. Co., 159 F.3d at 1315 (stating elements). However,

BCR and 25803 suffer ongoing harm by GWDG’s and Lowe’s contempt. First, GWDG

has failed to provide proof of insurance over the property naming BCR and 25803 as

insureds, and to indemnify BCR and 25803 for injuries that may be suffered on the

property, as required. This failure creates an obvious harm as GWDG and Lowe are


4
    Lowe is not a party but will be served with this Application by private process server.
                                               7
       Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 9 of 16




conducting a dangerous operation featuring and encouraging public interaction with big

cats and other animals on land neither own,5 hazards that were addressed in part by the

Court’s Order requiring safeguards.

      These potential hazards are exacerbated by the way the animal park is managed.

For example, a recent park visitor documented GWEAP’s head zookeeper (whom one

would expect would model the necessary safety procedures) sticking his arm through a

cage and touching a tiger.6 Similar conduct resulted in grievous injury to another zoo

employee who, in years past, lost her hand and lower arm when she inserted it through

the tiger cage at the same location under prior management.7

      BCR and 25803 have absolutely no control over the care and modes of interaction

with these big cats. While that lack of control would certainly provide a defense against

any injury that might occur, it would not preclude exposure to litigation costs that would

typically be paid by an insurer (and would thus be covered if GWDG and Lowe complied

with the Court Order requiring insurance), and covered by the required indemnification.

Compounding the danger, Lowe, who now exercises sole control over the animal park,




5
  Lowe has posted that GWEAP is hosting record crowds due to the Tiger King Netflix
docudrama. See, Ex. 2 (Mar. 29, 2020 GWEAP Facebook post) (the park “has
experienced two of the busiest days the park has ever seen….crowds have been huge
since the Netflix show ...”) (last viewed July 6, 2020).
6
  See Ex. 3 (redacted photo of head zookeeper and tiger).
7
  See Ex. 4 October 5, 2013 Huffington Post Article
(https://www.huffingtonpost.com/2013/ 10/05/tiger-attack-oklahoma-zoo-arm-inside-
cage_n_4050426.html?ncid=engmodushpmg00000006) (last viewed July 10, 2020).

                                            8
         Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 10 of 16




has expressed open hostility toward BCR since he first arrived at the animal park in

2015.8

         In that regard, Lowe has already broadcast his intent to abandon the operation run

by GWDG and GWEAP once he creates proposed new infrastructure in Thackerville,

Oklahoma, and has formed yet another new entity to manage it. If past conduct is a guide

to future behavior, it is unlikely Lowe would allow GWDG or GWEAP an income

earning role in the new operation. Even now, on information and belief and based on

receipts given to purchasers of tours at the zoo, Lowe appears to be funneling tour fees

that belong in GWEAP to a third entity he controls, Big Cat Institute, denying GWEAP

the funds it could use to meet the rent obligation to GWDG required under the Judgment.

See [Doc. 153].

         Second, GWDG’s cavalier failure to pay 25803 the $4,166.00 on July 1, as

required by the Order, unjustly enriches GWDG and Lowe to the detriment of 25803.

Despite the Court’s Order and Judgment identifying participation in past schemes to

avoid BCR’s judgments that underlie this action, GWDG and Lowe, as its principal and

sole member, continue to profit from the land determined to have been transferred

fraudulently to GWDG to operate the animal park. That exotic animal park daily attracts

what Lowe describes as record crowds while he uses it as a staging area to home and

exhibit the animals while he purportedly builds a new animal park facility in




8
 See. e.g., Plaintiff’s Motion for Summary Judgment, and Brief in Support [Doc. 97] at
(ECF pg) 18 ¶ 47, and MSJ Ex. 22 at 183:18-19.
                                             9
       Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 11 of 16




Thackerville, Oklahoma.9 In the meantime, Lowe boasts he now has ‘more money than

God’ as a result of his companies’ uncompensated use of the park land to run the

lucrative animal park business.10 Consistent with their conduct since early 2016 when

GWDG was improperly deeded the animal park land, GWDG, GWEAP and Lowe are

using the land they do not own and do not pay for to generate an income stream they

refuse to document without effective consequence.11 Just days ago, while ignoring

GWDG’s obligation to pay rent to 25803, Lowe appears to have allowed reality show

producers to film on and excavate the land, presumably for a substantial fee.12

       The present contempt is shocking viewed in isolation, but it is only the most recent

example of a history of ignoring Court orders whether directly by Lowe or through his

entities GWEAP and GWDG, in this and related litigation:

        In this case, GWDG failed to comply with the Court’s Order to obtain
         successor counsel so that BCR could move forward in this case. The Court



9
   Lowe has repeatedly expressed an intent to close GWEAP and open a facility closer to
the bulk of the animal park’s existing customer base. A Lowe Facebook page post stated
in part: “About 70% of the zoo’s current clientel [sic] originate in Fort Worth and Dallas.
Moving an hour closer to our demographic will do nothing but improve our animal’s
lives.” See Ex. 5, Sept. 27, 2018 news9.com article regarding Lowe Facebook post
(https://www.news9.com/story/5e3486e3527dcf49dad78a37/joe-exotics-once-beloved-
tiger-park-dismantled) (last viewed July 10, 2020).
10
   See Ex. 6, June 26, 2020 kfor.com story (https://kfor.com/news/local/g-w-zoos-jeff-
lowe-ends-interview-regarding-park-investigations-following-unwanted-question/) (last
viewed July 10, 2020).
11
   The Judgment requires GWDG to provide an accounting of its business records from
inception to the present by June 18, 2020. See Judgment [Doc. 153] at 4, ¶ 7. GWDG has
neither complied with this requirement nor contacted BCR’s counsel to discuss it.
12
   See Ex. 7, July 11, 2020 koco.com article (https://www.koco.com/article/osbi-garvin-
county-deputies-searching-for-possible-human-remains-at-tiger-king-zoo/33280844) (last
viewed July 11, 2020).
                                            10
       Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 12 of 16




          ultimately entered default judgment in BCR’s favor due to the continued
          disobedience. See Order of Default [Doc. 142], and Judgment [Doc. 153].

       In companion litigation involving GWEAP and GWDG, this Court on July 11,
        2018 entered an Order appointing a receiver over their revenue and receipts.
        However, Lowe, GWEAP and GWDG thwarted implementation of the
        receiver order by refusing to provide the receiver access to the animal park’s
        financial accounts, books and records, and revenue stream, and blocking the
        receiver’s access to the animal park facility itself. A motion for contempt is
        pending in that case. 13

       In that same parallel litigation, GWEAP through Lowe has ignored the Court’s
        orders to pay the receiver’s compensation. The Court determined GWEAP was
        in contempt of an Order requiring payment of compensation to the receiver,
        and set a show cause hearing for August 2018. However, GWEAP terminated
        its counsel days before the hearing, which was stricken, and has ignored the
        Court’s order to secure the entry of appearance of successor counsel by
        September 2018, effectively asserting control over the litigation by stymying
        progress.14

       In litigation pending in the Southern District of Indiana, in which Lowe is a
        party defendant, the Court recently issued an Order compelling Lowe to
        participate in discovery after he did not properly respond to paper discovery
        and abruptly ended a deposition after mounting spurious objections.15



13
   See, e.g., Big Cat Rescue v. G.W. Exotic Animal Memorial Foundation, et al.; Case No.
CIV-14-377-SLP (W.D. Okla.), July 11, 2018 Order Appointing Receiver [Doc. 387],
Receiver’s Second Motion to hold GWEAP in Contempt, Aug. 17, 2018 [Doc. 397] at 4,
¶¶ 3-4, and 5-7, ¶¶ 7-12, Receiver’s Third Motion for Contempt [Doc. 398] at 6, ¶ 12,
and BCR’s Application for Contempt as to GWEAP and Lowe regarding Receiver Order,
March 4, 2019 [Doc. 410].
14
   See, e.g., Big Cat Rescue v. G.W. Exotic Animal Memorial Foundation, et al.; Case No.
CIV-14-377-SLP, (W.D. Okla.), Receiver’s Contempt Motion as to GWEAP, Dec. 8,
2016 [Doc. 269]; July 11, 2018 Order (granting contempt motion and setting show cause
hearing on Aug. 28, 2018) [Doc. 389]; Aug. 24, 2018 Order (granting GWEAP’s counsel
permission to withdraw, requiring substitute counsel's entry within 30 days, and striking
Aug 28, 2018 show cause hearing to be reset after entry of appearance of substitute
counsel) [Doc. 407].
15
   See Ex. 8, People for the Ethical Treatment of Animals, Inc. v. Wildlife in Need and
Wildlife in Deed Inc.; No. 4:17-cv-186-RLY-DML (S.D. Ind. June 30, 2020), Order on
Plaintiff’s Motion to Compel as to Defendant Lowe.
                                           11
          Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 13 of 16




         Finally, Lowe has publicly flaunted his disdain for the very judicial process that

resulted in the Order and Judgment. On October 23, 2019, the Court conducted an

evidentiary hearing on damages prior to their entry. Neither counsel nor a representative

for GWDG attended the hearing. See Order [Doc.152] at 3 (“No counsel for or

representative of GWDG appeared at the hearing”); Minute Sheet of Proceedings held

October 23, 2019 [Doc. 150]. That same day, Lowe posted on GWEAP’s social media:

“Why spend the day in court fighting for something we don’t want? Let the dogs pick

those bones.”16

         It certainly appears that Lowe, GWDG’s sole decision maker, believes that he and

his company can simply ignore the judicial process and the Court’s authority. The Order

and Judgment at issue here themselves stemmed from GWDG’s knowing disregard of the

Court’s Orders and the judicial process. Yet the relief the Court awarded BCR as a

consequence of this disobedience is now also ignored. This alarming pattern can only be

addressed meaningfully through the Court’s contempt power. See Earthgrains Baking

Cos. Inc. v. Sycamore Family Bakery Inc., 2:09cv523-DAK, 2018 WL 5776545, * 3 (D.

Utah Nov. 2, 2018) (“Requiring the court to order you to comply with a prior order

before you comply with it is textbook contempt.”). Applicants respectfully posit that this

Court’s immediate action is necessary because the ongoing violations of the Order cause

harm that is not remediable, and every single day that passes exposes Applicants to

further risk. Entry of a show cause order as to why GWDG and Lowe, individually,

should not be held in contempt for failing to obey the Order is proper here given the clear

16
     See Ex. 9 (Oct. 23, 2019 GWEAP Facebook post) (last viewed Oct. 28, 2019).
                                             12
       Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 14 of 16




and convincing evidence of every element necessary for a finding of contempt.

Applicants request the Court set a shortened response time of five days for GWDG and

Lowe, and set a show cause hearing on an expedited basis. Applicants further request that

the relief awarded include a prohibition of any further use of the land for gain by Lowe,

whether through his entities (including GWDG) or otherwise, until full compliance is

had.

                                   III. CONCLUSION

       GWDG and Lowe have ignored and failed to comply with the Order. BCR and

25803 accordingly apply for an order setting an expedited hearing to show cause why

GWDG and Lowe, its sole member and principal, should not be held in contempt. If

contempt is found, BCR and 25803 also seek an order containing all measures necessary

to obtain compliance with the Order, to compensate BCR and 25803 for their damages,

and to prevent further harm.

       WHEREFORE, Plaintiff Big Cat Rescue Corp. and 25803 North Country Road

3250 LLC respectfully request the Court issue an order to show cause why GWDG and

Jeffrey Lee Lowe, individually, should not be held in contempt for failure to comply with

the Court’s Order [Doc. 152]; and for any and all other relief appropriate for their failure

to comply with the Order, including the award of damages and their reasonable attorney

fees and costs; and for all such other and further relief, whether legal or equitable, as

would be just.




                                            13
Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 15 of 16




                             Respectfully submitted,

                             /s/ Heather L. Hintz
                             Melvin R. McVay, Jr., OBA No. 6096
                             Heather L. Hintz, OBA No. 14253
                             Juston R. Givens, OBA No. 19102
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                             ATTORNEYS FOR PLAINTIFF
                             BIG CAT RESCUE CORP. and PARTY IN
                             INTEREST 25803 NORTH COUNTRY
                             ROAD LLC




                               14
       Case 5:16-cv-00155-SLP Document 158 Filed 07/14/20 Page 16 of 16




                             CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of July, 2020, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the
records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
the following ECF registrants:

Justin D. Meek – jmeek@46 legal.com
Melanie K. Dittrich – mdittrich@46legal.com

Former Attorneys for Defendant Greater Wynnewood Development Group, LLC
(Accepting service until substitute counsel enters an appearance per Order [Doc. 133]).

                                          /s/ Heather L. Hintz
                                          Heather L. Hintz




                                             15
